                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               TEXARKANA DIVISION

                                                   §
 SABLE NETWORKS, INC., SABLE IP,                   §
 LLC,                                              §
                                                   §
        Plaintiffs,                                §
                                                   § CIVIL ACTION NO. 5:21-CV-00040-RWS
 v.                                                §
                                                   §
 SPLUNK INC., CRITICAL START INC.,                 §
                                                   §
        Defendants.                                §

                                             ORDER

       Before the Court is the parties’ Joint Motion to Dismiss with Prejudice. Docket No. 106.

Pursuant to Federal Rule of Civil Procedure 41(a)(2), the parties move to dismiss all claims by
    .
Plaintiffs in the above-captioned action in their entirety with prejudice. Id. Having considered the

joint motion (Docket No. 106), the Court is of the opinion that it should be and hereby is

GRANTED. Accordingly, it is

       ORDERED that Plaintiffs Sable Networks, Inc. and Sable IP, LLC’s claims are hereby

DISMISSED WITH PREJUDICE. It is further

       ORDERED that the parties shall bear their own attorney’s fees, costs and expenses.

       All relief not previously granted is DENIED-AS-MOOT.

       So ORDERED and SIGNED this 4th day of April, 2022.




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                                                          ROBERT W. SCHROEDER III
                                                          UNITED STATES DISTRICT JUDGE
